Case 2:05-cv-02248-.]PI\/|-tmp Document 21 Filed 08/22/05 Page 1"of4 Page|D 19

IN THE UNITED STATES DISTRICT COURT FOR THE

   

 

 

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WESTERN DISTRICT OF TENNESSEE, WESTERN DIVISIOl\,lI £D BY D,C_
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Plaimiff, W/D @;- -_ WCLES_MRI
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vs. NO. 052,¢18 lePh
OFFICER PATRICK JOYNT,
in his official and individual capacities
and the CITY OF MEMPHIS,
Defendants.
SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on August 25, 2005.
Present were J ay M. Atkins, counsel for plaintiff, and Heather Kirksey, counsel for City of
Memphis. At the conference, the following dates were established as the final dates for:
H\IITIAL DISCLOSURES PURSUANT TO Fecl. R. Civ. P. 26(a)(l): September 8, 2005
JOIN]NG PARTIES: October 25, 2005
AMEND]NG PLEADINGS: October 25, 2005
INITIAL MOTIONS TO DISMISS: November 24, 2005
COMPLETING ALL DISCOVERY: April 25, 2006

(a) DOCUMENT PRODUCTION: April 25, 2006

(b) DEPOSITIONS, ]NTERROGATOR[ES AND REQUESTS FOR

ADMISSIONS: April 25, 2006
(c) EXPERT WlTNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLA[NTIFF’S RULE 26 EXPERT

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with Ru\e 58 and/or zeta) FacP on_$'__'Q§ ay

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INFORMATION: February 24, 2006
(2) DISCLOSURE OF DEFENDAN’I"S RULE 26 EXPERT
INFORMATION: March 24, 2006
(3) EXPERT WITNESS DEPOSITIONS: April 25, 2006
Fl]_.]NG DISPOSITIVE MOTIONS: May 25 , 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response answer, or objection shall be waived.

This case is set for jury trial. The pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge. *t'\r\e_ pav'§\'¢v “- '='\`p**'- '\\r` u~'-“
\_M +"'\(¢'¢. L") dw. r"§*»\?
This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll (a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

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Tu M. Pham
UNITED STATES MAGISTRATE JUDGE

DATE; W Q.D, 20 ¢3/

IT lS SO ORDERED.

Approved for Entry:

By 'lm A¢{/{§¢W/ $Sl<n~)»'(“»/ M\A->

v

JAY M ATiiNS EsQ. #213?1”
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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CV-02248 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Chris Turner

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Honorable .1 on l\/lcCalla
US DISTRICT COURT

